     Case 3:18-cr-04683-GPC Document 379 Filed 04/04/22 PageID.5413 Page 1 of 1




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 8                              UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10     UNITED STATES OF AMERICA,                     Case No.: 18cr4683-GPC
11                 Plaintiff,                        ORDER SHORTENING TIME
                                                     FOR FILING SUPPLEMENTAL
12           v.                                      LEGAL AUTHORITY IN
                                                     SUPPORT OF MOTION IN
13     JACOB BYCHAK (1),                             LIMINE TO EXCLUDE
       MARK MANOOGIAN (2),                           EVIDENCE OF IMMIGRATION
14                                                   STATUS
       ABDUL MOHAMMED QAYYUM (3), and
15     PETR PACAS (4),
16                 Defendants.
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            WHEREBY the Court, having read and considered the motion of the United States
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      for Order Shortening Time for Filing Its Supplemental Legal Authority in Support of its
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      Motion in Limine to Exclude Evidence of Immigration Status, and finding good cause
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      therein, IT IS HEREBY ORDERED that the time for filing the Government’s
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      Supplemental Legal Authority in Support of its Motion In Limine to Exclude Evidence of
24 the Defendant’s Immigration Status be shortened from March 24, 2022, to April 4, 2022.
25 Dated: April 4, 2022
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